    Case 22-18303-JKS           Doc 126-5 Filed 05/30/23 Entered 05/30/23 17:46:56                        Desc Ntc
                                   of Hrg on Aplc for Comp Page 1 of 2
Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−18303−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Alexandre J. Dacosta                                     Vivianne C. Antunes
   80 Columbia Avenue                                       80 Columbia Avenue
   Kearny, NJ 07032                                         Kearny, NJ 07032
Social Security No.:
   xxx−xx−2325                                              xxx−xx−0411
Employer's Tax I.D. No.:


                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION


      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable John K. Sherwood on:

Date:       7/6/23
Time:       10:00 AM
Location:    Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark, NJ
07102

for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Norgaard, O'Boyle & Hannon, Debtor's Attorney,

COMMISSION OR FEES
$76,886.75

EXPENSES
$5,670.86

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
   Case 22-18303-JKS   Doc 126-5 Filed 05/30/23 Entered 05/30/23 17:46:56   Desc Ntc
                          of Hrg on Aplc for Comp Page 2 of 2


Dated: May 31, 2023
JAN:

                                                Jeanne Naughton
                                                Clerk
